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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   (at Lexington)

    UNITED STATES OF AMERICA,                    )
                                                 )
           Plaintiff,                            )     Criminal Action No. 5: 15-106-DCR
                                                 )
    V.                                           )
                                                 )
    LISA DAWN CROWE,                             )        MEMORANDUM ORDER
                                                 )
           Defendant.                            )

                                    ***   ***   ***    ***

         Defendant Lisa Crowe has filed a second motion requesting reconsideration of the

Court’s denial of her motion for compassionate release pursuant to 18 U.S.C. § 3582(c)(1).

[Record No. 216] She has also filed a “supplemental motion” providing a list of citations to

authority in support of her prior motion. [Record No. 217] In essence, Crowe contends that

her medical condition has worsened and that she meets the conditions for compassionate

release. The Court denied Crowe’s initial motion for reconsideration because it was untimely.

[Record No. 212] Crowe has not identified any circumstances that change that determination.

         Again, the Court is sympathetic to Crowe’s situation. However, defendants must

exhaust administrative remedies before appealing to the court.1 Crowe’s initial motion for

reconsideration indicates that she submitted a renewed compassionate release request to the

Bureau of Prisons on March 17, 2020. [Record No. 211-7, p. 4] Crowe may appeal to this




1
   This Memorandum Order does not address whether Crowe’s recent appeal of the denial of
her earlier motion [Record No. 213] divests this Court of jurisdiction over her present motion.
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Court if the warden denies the request or fails to act on it within 30 days from receiving that

request. See § 3582(c)(1).

       Finally, the Court notes that the majority of Defendant Crowe’s filings were prepared

and signed by Georgean Arsons, who purports to be a “trained paralegal” residing in New

Jersey. By law, an individual may appear in court either pro se or represented by counsel.

While a non-lawyer may represent herself in legal proceedings, she may not represent the

interests of a third party without engaging in the unauthorized practice of law. See Guest v.

Hansen, 603 F.3d 15, 20 (2d Cir. 2010); Fortin v. Ocwen Loan Serv., LLC, Civ. No. 15-122,

2015 WL 5693115, at *3 (D.N.H. Sept. 28, 2015).

       While Arsons’ desire to assist Crowe is commendable, she is cautioned to avoid the

unauthorized practice of law in this matter.

       For the foregoing reasons, it is hereby

       ORDERED that Crowe’s second motion for reconsideration [Record No. 216] and

supplemental motion [Record No. 217] are DENIED.

       Dated: April 8, 2020.




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